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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JOSE DELAGADO,                                       )
                                                     )
               PLAINTIFF,                            )
                                                     )      Civil Action No. 17-cv-03742
               v.                                    )
                                                     )      Hon. Sara L. Ellis
BLATT, HASENMILLER, LEIBSKER &                       )
MOORE, LLC,                                          )
                                                     )      Magistrate Judge Young B. Kim
               DEFENDANT.                            )
                                                     )


                                STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED to by Plaintiff and Plaintiff’s attorney and
the Defendant and the Defendant attorneys, that pursuant to Rule 41(a) (1) (A) (ii) of the Federal
Rules of Civil Procedure, the above-titled action against the Defendants shall be and hereby is
dismissed with prejudice and on the merits, with each side to bear its own fees and costs.

Dated: April 10, 2018


        Counsel for Plaintiff                                Counsel for Defendant

        s/Celetha Chatman                                    s/ Brandon Stein
        Celetha Chatman                                       Brandon Stein
        Michael Wood                                          John Ryan
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        Attorneys for Plaintiff




	
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                                     CERTIFICATE OF SERVICE

          I, Celetha Chatman, an attorney, hereby certify that on April 10, 2018, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such

filing to all attorneys of record.


    Dated: April 10, 2018                                                      Respectfully submitted,


                                                                         By:      /s/ Celetha Chatman




	

	

	

	

	

	

	

	




	
